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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF KENTUCKY
                              PADUCAH DIVISION

FRANCISCO CISNEROS,                                   )
                                                      )
                      Plaintiff,                      )
                                                      )                             5:08CV-144-R
                                                          Civil Action, Case No.: ____________
v.                                                    )
                                                      )   JURY DEMAND
PILGRIM’S PRIDE CORPORATION                           )
                                                      )
                      Defendant.                      )


                                           COMPLAINT


        COMES NOW the Plaintiff, Francisco Cisneros, by and through his undersigned counsel,

and for his Complaint states as follows:

                               NATURE OF THE COMPLAINT

        1.     This is a civil action arising under the laws of the United States and of the State of

Kentucky, and is brought pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12101 et

seq., and the Kentucky Civil Rights Act, Ky. Rev. Stat. § 344.010 et seq.

                                           THE PARTIES

        2.     Plaintiff is a resident of Union City, Obion County, Tennessee. Plaintiff was, at

all relevant times, an employee of Defendant Pilgrim’s Pride Corporation at its facility in

Hickory, Graves County, Kentucky.

        3.     Defendant Pilgrim’s Pride Corporation is a Delaware corporation with its

principal place of business at 4845 U.S. Highway 271 North, Pittsburg, TX 75686-0093. Its
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registered agent for service of process is CT Corporation System, which may be served at the

Kentucky Home Life Building, 239 South 5th Street, Louisville, KY 40202.

                                  JURISDICTION AND VENUE

        4.      This Court has jurisdiction over Plaintiff’s federal claim pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12101 et seq., because it raises federal questions

pursuant to 28 U.S.C. § 1331. The Court also has supplemental jurisdiction over Plaintiff’s

state-law claim pursuant to 28 U.S.C. § 1367(a).

        5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the acts giving rise to this lawsuit occurred in this judicial district and

Defendant conducts business and employed Plaintiff in Graves County, Kentucky, which is

located within this judicial district.

        6.      Plaintiff filed a timely Charge of Discrimination with the Equal Employment

Opportunity Commission, a copy of which is attached hereto as Exhibit A. Plaintiff received a

Determination and right to sue from the EEOC with respect to the federal charge set forth below

less than ninety days prior to the filing of this Complaint. A copy of Plaintiff’s Determination

letter is attached hereto as Exhibit B.

                                    FACTUAL BACKGROUND

        7.      Plaintiff began working for Defendant on or about February 8, 2008. Plaintiff’s

employer-provided health insurance would have become effective on April 8, 2008.

        8.      Plaintiff worked on the “debone line.” The debone line is a moving assembly that

carries chickens to workstations where employees use knives to debone the chickens.

        9.      On March 1, 2008, Plaintiff got dizzy while working the debone line. Plaintiff

was examined by Defendant’s nursing staff and found to have high blood sugar. Defendant



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summoned a friend of Plaintiff who also worked for Defendant and instructed her to take

Plaintiff to the hospital.

        10.     Plaintiff went to the emergency room for treatment.               After an examination,

Plaintiff was diagnosed with new-onset diabetes. Plaintiff received a prescription for medication

to control his diabetes. The doctor also released Plaintiff to return to work on March 3, 2008

with instructions to take his medication.

        11.      On March 3, 2008, Plaintiff and his friend went to Defendant’s on-site medical

facility. Plaintiff’s friend provided the doctor’s release to Defendant’s nurse. Plaintiff then

asked if he could be moved to a job not involving moving lines until the medication got his blood

sugar under control. When Defendant stated he could not be moved, Plaintiff stated he would

continue working his job.

        12.     Also on March 3, 2008, Defendant informed Plaintiff that the nurse had pricked

her finger while checking his blood sugar on March 1. Because of this, Defendant required

Plaintiff to go to an off-site medical clinic for blood work. Having this blood drawn made

Plaintiff ill and, on his supervisor’s advice, he took off the rest of the day.

        13.     After working without incident on March 4, on March 5, 2008, Plaintiff’s

supervisor complained that he was working too slowly. The supervisor then stated that Plaintiff

was “sick” and ordered him to return to Defendant’s medical department. While he was in the

medical department, Defendant terminated Plaintiff’s employment.

        14.     Plaintiff had not been aware that he had diabetes at the time he applied for a job

with or commenced working for Defendant.

        15.     Plaintiff’s diabetes substantially impaired many of his daily activities, including

walking, seeing, working, and performing specific tasks for long periods of time without




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interruption. Plaintiff, however, obtained medical treatment and medication that would have

controlled his diabetes and allowed or, with sufficient time to enter his system, would have

allowed Plaintiff to perform his job.

          16.    Defendant terminated Plaintiff because of Plaintiff’s disability, because he had a

record of being disabled, and/or because it regarded him as disabled.

          17.    These actions of Defendant were intentional, willful, deliberate, knowing, and

malicious.

          18.    As a direct, foreseeable, and proximate result of Defendant’s wrongful actions,

Plaintiff has suffered pecuniary losses in the form of lost income and lost employment benefits

as well as severe emotional distress, emotional pain, suffering, inconvenience, mental anguish,

and other non-pecuniary losses, all in an amount to be determined at trial.

                                             COUNT I

                VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

          19.    Plaintiff realleges and incorporates herein the allegations contained in Paragraphs

1 – 18.

          20.    Defendant’s actions constitute a violation of the Americans with Disabilities Act,

42 U.S.C. § 12101 et seq.

          21.    Defendant terminated Plaintiff because he was disabled, had a record of disability,

and/or was regarded by Defendant as disabled.

          22.    Defendant’s discriminatory actions against Plaintiff were willful and knowingly

committed.

          23.    As a direct and proximate result of Defendant’s adverse treatment of Plaintiff in

violation of the Americans with Disabilities Act, Plaintiff was injured and suffered damages.




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          24.      Plaintiff has sustained a loss of back pay, benefits, incidental expenses, and front

pay.

          25.      Defendant engaged in the discriminatory practices alleged in the first cause of

action with malice and/or with reckless indifference to Plaintiff’s federally protected rights,

making Defendant liable for compensatory and punitive damages pursuant to 42 U.S.C. §§

1981a(a) & (b).

                                                COUNT II

                      DISABILITY DISCRIMINATION IN VIOLATION OF
                           THE KENTUCKY CIVIL RIGHTS ACT

          26.      Plaintiff realleges and incorporates herein the allegations contained in Paragraphs

1 – 25.

          27.      Defendant’s conduct constitutes illegal discrimination on the basis of disability in

violation of the Kentucky Civil Rights Act, Ky. Rev. Stat. § 344.010 et seq.

          28.      As a result of Defendant’s conduct, Plaintiff suffered damages.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully prays as follows:

          1.       That Defendant be served and required to answer within the time prescribed by

law;

          2.       That a jury of twelve try this cause;

          3.       That, upon the trial of this matter, Plaintiff be awarded judgment for damages of

the lost compensation he has suffered from the date of Defendant’s actions in an amount to be

proven at trial;




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       4.      That the Court issue an award of front pay in an amount to be proven at trial in

lieu of reinstatement because the actions described herein and the circumstances surrounding the

place of employment have made reinstatement impossible;

       5.      That the Plaintiff be awarded additional compensatory damages, including, but

not limited to, damages for emotional distress, pain and suffering, embarrassment, and

humiliation in an amount to be proven at trial;

       6.      That costs and discretionary costs be taxed against Defendant;

       7.      That costs and attorney’s fees be assessed against Defendant pursuant to 42

U.S.C. § 12205 and Ky. Rev. Stat. § 344.450;

       8.      That Defendants be ordered to pay punitive damages in an amount to be

determined at trial;

       9.      That such other remedies as shall be necessary and proper to eliminate all

violations complained of herein be awarded as provided by law; and

       10.     For such other and further relief as the Court may find appropriate.

                                                      Respectfully submitted,



                                                      s/ D. Wes Sullenger___________________
                                                      D. Wes Sullenger, KY BAR # 91861
                                                                        TN BPR # 021714

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                                                      Francisco Cisneros



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